UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DONALD J. TRUMP, DONALD J. TRUMP
 JR., ERIC TRUMP, IVANKA TRUMP,

 and
                                                        Docket No. 1:19-cv-03826-ER
 THE DONALD J. TRUMP REVOCABLE
 TRUST, THE TRUMP ORGANIZATION,                         NOTICE OF MOTION FOR A
 INC., TRUMP ORGANZATION LLC, DJT                       PRELIMINARY INJUNCTION
 HOLDINGS LLC, DJT HOLDINGS
 MANAGING MEMBER LLC, TRUMP
 ACQUISITION LLC, and TRUMP
 ACQUISITION, CORP.,

                                 Plaintiffs,

                 - against -

 DEUTSCHE BANK AG and CAPITAL ONE
 FINANCIAL CORP.,

                                 Defendants.

        Per Federal Rule of Civil Procedure 65, Plaintiffs move for a preliminary injunction against

Defendants Deutsche Bank AG and Capital One Financial Corp. and Intervenor-Defendants House

Permanent Select Committee on Intelligence and House Financial Services Committee, prohibiting

these parties from taking any steps to enforce or comply with the challenged subpoenas until this

Court enters final judgment. Plaintiffs’ motion is based on the attached memorandum of law, their

declaration and other filings, and any oral argument or evidence presented at the preliminary-

injunction hearing. Plaintiffs are entitled to a preliminary injunction because they have shown

“‘(a) irreparable harm and (b) either (1) likelihood of success on the merits or (2) sufficiently serious

questions going to the merits to make them a fair ground for litigation and a balance of hardships

tipping decidedly toward the party requesting the preliminary relief.’” Citigroup Glob. Markets, Inc. v.

VCG Special Opportunities Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010).
                                                    Respectfully submitted,

 Dated: May 3, 2019                                  s/ Patrick Strawbridge      T

 Marc L. Mukasey                                    Patrick Strawbridge
 Mukasey Frenchman & Sklaroff LLP                   CONSOVOY MCCARTHY PARK PLLC
 250 Park Avenue, 7th Floor                         Ten Post Office Square
 New York, NY 10177                                 8th Floor South PMB #706
 347-527-3940                                       Boston, MA 02109
 marc.mukasey@mukaseylaw.com                        patrick@consovoymccarthy.com

 Counsel for The Donald J. Trump Revocable Trust,   William S. Consovoy
 The Trump Organization, Inc., Trump Organization   Cameron T. Norris
 LLC, The Trump Corporation, DJT Holdings LLC,      CONSOVOY MCCARTHY PARK PLLC
 DJT Holdings Managing Member LLC, Trump            3033 Wilson Blvd., Ste. 700
 Acquisition LLC, and Trump Acquisition, Corp.      Arlington, VA 22201
                                                    (703) 243-9423
                                                    will@consovoymccarthy.com
                                                    cam@consovoymccarthy.com

                                                    Counsel for President Donald J. Trump,
                                                    Donald J. Trump Jr., Eric Trump, and Ivanka Trump




                                 CERTIFICATE OF SERVICE
       I, Patrick Strawbridge, declare under penalty of perjury that I served a copy of this motion and

all attached exhibits via email to counsel for Deutsche Bank and the House of Representatives.

Counsel for Capital One will be served via ECF.

       Dated: May 3, 2019                                                s/ Patrick Strawbridge
